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 UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_______________________________________________

LYNNE ROSE,1 a minor, by next friend,
The Children's Rights Initiative, Inc.,

                                      Plaintiff,

                      v.                                                    5:98-CV-1882
                                                                             (FJS/GHL)
JAMES ZILLIOUX,

                              Defendant.
_______________________________________________

APPEARANCES                                          OF COUNSEL

THE CHILDREN'S RIGHTS                                A. J. BOSMAN, ESQ.
INITIATIVE, INC.
258 Genesee Street, Suite 301
Utica, New York 13502
Attorneys for Plaintiff

JAMES ZILLIOUX                                       NO APPEARANCE
Defendant pro se

SCULLIN, Senior Judge

                           MEMORANDUM-DECISION AND ORDER

                                      I. INTRODUCTION

       On July 23, 2008, the Court held a hearing to determine the appropriate amount of

damages to award Plaintiff on her state-law claims of assault and battery and defamation against

Defendant Zillioux.2 At that hearing, Plaintiff testified about the harm she suffered and



       1
        Plaintiff's real name is Melissa Hope. At the time that she filed her complaint, she was a
minor and filed the suit under the pseudonym "Lynne Rose" to protect her identity.
       2
       The Court previously granted Plaintiff's motion for a default judgment on the issue of
Defendant Zillioux's liability for these claims. See Dkt. No. 108.
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continues to suffer as a result of Defendant Zillioux's inappropriate sexual conduct against her in

August and September 1997. In addition, Joyce Huyck, a Licensed Clinical Social Worker,

testified about the impact that sexual assault and abuse can have on a child and offered her

opinion about whether Plaintiff presented with symptoms of an adult survivor of childhood

sexual abuse. At the conclusion of the hearing, the Court reserved decision. The following

constitutes the Court's determination of the amount of damages to award to Plaintiff.



                                        II. DISCUSSION

A.     Plaintiff's testimony3

       In the summer of 1996, Plaintiff met Defendant Zillioux at Lock 18 of the New York

State Canal System, where Defendant Zillioux was an employee of the New York State Canal

Corporation. Defendant Zillioux befriended Plaintiff and asked her if she would like to come to

Lock 18 regularly and go fishing with the other kids who were there. Plaintiff told Defendant

Zillioux that she would; and, after that time, she often went to Lock 18. At some point during

the summer of 1996, Plaintiff went into the Lockhouse with Defendant Zillioux, who, on one

occasion, asked her to sit on his lap. Nothing else happened between Plaintiff and Defendant

Zillioux that summer.

       Plaintiff continued to visit Defendant at Lock 18 during the summer of 1997. At some

point, he gave her a shirt and cap; and she did small chores at Lock 18, including painting and

cleaning. Her parents knew that she was at Lock 18 and that she was helping Defendant



       3
          The following is a summary of Plaintiff's testimony at the July 23, 2008 hearing as well
as the information she provided in her affidavit and elsewhere in the record.

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Zillioux.4

       At some point in August 1997, Plaintiff's parents allowed her to go to the County Fair

with Defendant Zillioux and his sons. Later that week when Plaintiff was at Lock 18, Defendant

Zillioux approached Plaintiff in an inappropriate manner and continued to do so thereafter every

time Plaintiff was at Lock 18, which was three to four times each week, until she returned to

school in September, at which point the abuse stopped. At least on one occasion, he put his

hands on her breasts and buttocks and stuck his fingers in her vagina. He also took his penis out

of his pants and once tried to have intercourse with her.

       Plaintiff did not tell her parents or anyone else about what Defendant Zillioux was doing

to her. Defendant Zillioux told her not to tell anyone because her friends would think less of her.

Her mother discovered the abuse when she found a letter in Plaintiff's backpack that Plaintiff had

written to Defendant Zillioux, telling him that she wanted him to stop. Plaintiff's mother called

Plaintiff's aunt, who told her to call the State Police. Plaintiff's mother and aunt picked Plaintiff

up at school and took her to the State Police office where she made a statement against

Defendant Zillioux. As a result of Plaintiff's statement, Defendant Zillioux was arrested.

       For approximately one year after the abuse occurred, Plaintiff felt very insecure and had

panic attacks, had difficulty with her self image, had low self-esteem, and had trouble sleeping

and, when she did sleep, had nightmares.

       Plaintiff continues to suffer from anxiety and panic attacks, which are triggered when she

is in new and unfamiliar situations or surroundings. Plaintiff married an alcoholic from whom



       4
        They also knew that Defendant Zillioux drove Plaintiff home from Lock 18, and they
even invited him to their home for a barbeque in early September 1997.

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she is now separated. She currently lives in an apartment, for which she pays rent based on her

income. Plaintiff has three daughters, and she is afraid for them because she feels as if there is an

unpreventible cycle of abuse – her mother was abused, she was abused, and she is afraid her

daughters will be abused.

        Finally, Plaintiff believes that, although no amount of money will make her whole,

Defendant Zillioux should have to pay something for what he did.



B.      Ms. Huyck's testimony

        The following is a summary of Ms. Huyck's testimony at the July 23, 2008 hearing.

        Ms. Huyck currently works as a Clinical Social Worker for Family Services of the

Mohawk Valley. She has expertise in the area of child sexual abuse. She met Plaintiff for the

first time on July 17, 2008, and met with her for about one and one-half hours. She has not

clinically treated Plaintiff, and she has based her assessment of Plaintiff's condition on what

Plaintiff told her and her observations of Plaintiff. In Ms. Huyck's opinion, Plaintiff suffers from

some of the symptoms of an adult survivor of childhood sexual abuse, such as anxiety, panic

attacks, flash backs of abuse, and concerns about the safety of her children. In response to the

Court's question, however, Ms. Huyck stated that Plaintiff's anxiety and depression could have

resulted from other traumatic events but that Plaintiff's flashbacks were certainly related to the

sexual abuse. Finally, Ms. Huyck stated that people suffer the effects of sexual abuse at different

stages in their lives and these effects can be rekindled at different developmental stages in life.

She opined that it is likely that Plaintiff will suffer the effects of abuse in the future, and she

hopes that Plaintiff will get counseling when that occurs.


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C.     Damages Assessment

       Based upon Ms. Huyck's and Plaintiff's hearing testimony, Plaintiff's allegations in her

complaint, her affidavit, and her deposition testimony, the Court finds that, other than one

incident in the summer of 1996, the sexual abuse that Defendant Zillioux perpetrated on Plaintiff

occurred on a regular basis from middle to late August 1997 to shortly after Labor Day of 1997,

when Plaintiff returned to school. The Court also finds that this abuse caused Plaintiff to suffer

emotional and psychological harm in the form of low self-esteem, anxiety, and panic attacks,

from which she currently suffers and is likely to continue to suffer for the unforeseeable future.

The Court also notes that other traumatic incidents in Plaintiff's life, including the divorce of her

parents and her marriage to an alcoholic, may have contributed to her emotional and

psychological injuries. It is impossible, however, for the Court to determine how much these

unrelated incidents may have contributed to Plaintiff's current condition.

       In light of Plaintiff's age at the time of the abuse – 13 to 14 years old – the frequency of

that abuse over a period of three to four weeks, and the harm that Plaintiff has suffered as a

result, the Court concludes that an award of damages in the amount of $100,000.00 is appropriate

under all the circumstances.




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                                       III. CONCLUSION

       According, for the above-stated reasons, the Court hereby

       ORDERS that the Clerk of the Court shall enter judgment against Defendant Zillioux and

in favor of Plaintiff in the amount of $100,000.00 (one hundred thousand dollars) in damages

on her state-law claims and close this case.


IT IS SO ORDERED.


Dated: July 29, 2008
       Syracuse, New York




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